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                                                                             USDC SDNY
                                                                             DOCUMENT
UNITED STATES DISTRICT COURT                                                 ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                DOC #:
 ------------------------------------------------------------------- X       DATE FILED: 7/8/24
                                                                     :
 UNITED STATES OF AMERICA,                                           :
                                                                     :
                            -against-                                : 23-CR-497 (VEC)
                                                                     :
 ANTHONY VIGGIANO JR.,                                               :     ORDER
                                                                     :
                                              Defendant.             :
                                                                     :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on July 3, 2024, the Defendant filed his sentencing submission, which

contained a DRAFT watermark, see Dkt. 55.

       IT IS HEREBY ORDERED that by no later than July 9, 2024 at 12:00 P.M., Defendant

must either file a letter indicating that the submission was intended as the final submission; or

Defendant must file a redlined version along with the final submission.



SO ORDERED.
                                                      _________________________________
Date: July 8, 2024                                           VALERIE CAPRONI
      New York, NY                                          United States District Judge
